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  5
  6
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  7
  8                             UNITED STATES DISTRICT COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
 10                                      SOUTHERN DIVISION
 11
 12    EVAN MUSA, individually, and on               CASE NO.
       behalf of those similarly situated,
 13                                                  CLASS ACTION COMPLAINT
 14                         Plaintiff,
                                                     Demand for Jury Trial
 15           v.

 16    AMBROSIA NUTRACEUTICALS,
 17    LLC,

 18
                            Defendant.
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                                       Plaintiff Evan Musa brings this action on behalf of himself and all others
                            1
                            2    similarly situated against Defendant AMBROSIA NUTRACEUTICALS, LLC.

                            3    Plaintiff makes the following allegations pursuant to the investigation of counsel and
                            4
                                 based upon information and belief, except as to the allegations specifically pertaining
                            5
                                 to himself, which are based on personal knowledge.
                            6
                            7
                            8                                NATURE OF THE ACTION

                            9          1.     In an attempt to capitalize on consumer demand for health-focused and
                            10
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                                 “gluten free” foods, Defendant sells its Planta products throughout the United States.
                            11
                                 However, as Defendant knows, its “gluten free” products actually contain gluten.
                            12
                            13   Thus, the statement on Defendant’s products’ labels and other forms of marketing

                            14   that claim the products are “gluten free” is false, misleading, and designed to deceive

                            15   consumers into paying a price premium and choosing Defendant’s products over a
                            16
                                 competitor’s product.
                            17
                                       2.     This action seeks to remedy the deceptive and misleading business
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                            19   practices of Defendant with respect to their marketing and sales of its Planta protein

                            20   (hereinafter “Product” or “Products”) throughout the United States of America.1

                            21         3.     Building upon this deception by labeling and advertising the Products as
                            22
                                 “gluten free,” Defendant creates the impression amongst reasonable consumers that
                            23
                                 the Products contain no gluten. However, this is not true, and Defendant fails to
                            24
                            25   adequately inform consumers that the Products contain gluten.

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                            27
                                 1At the time of this filing, the following Planta products are included in this
                            28   definition: Campfire S’Mores flavored protein. This definition is not exhaustive, and
                                 shall include all of Defendants’ products that are similarly deceptively marketed.
                                                                             –1–
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                                       4.     Now, instead of informing the public that it had previously deceived
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                            2    consumers by including a dangerous allergen, Defendant literally covers up the

                            3    Gluten Free claim with a removable sticker without alerting retailers, consumers, or
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                                 regulators to its deception.
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                                       5.     Even worse, while the label is “covered up,” Defendant continues to
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                            2    market the Products as gluten free despite being alerted by numerous consumers

                            3    that they’ve been deceived.
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                                                            CLASS ACTION COMPLAINT
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                                       6.     Reasonable consumers have been tricked, and continue to be tricked,
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                                 while Defendant continues to profit from its deceptions.
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                                       7.     Plaintiff and those similarly situated (“Class Members”) relied on
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                            19   Defendant’s misrepresentation that the Products are “Gluten Free” when purchasing

                            20   the Products.
                            21
                                       8.     These deceptive representations appear prominently on the Products’
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                                 label. For example, on the principal display panel of the Products, “Gluten Free” is
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                                 featured prominently.
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                                                                 CLASS ACTION COMPLAINT
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                                       9.    Plaintiff and Class Members paid for the Products over and above
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                                 comparable products that did not purport to be “Gluten Free.” Given that Plaintiff
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                            21   and Class Members paid for the Products based on Defendant’s misrepresentations

                            22   that they are “Gluten Free,” Plaintiff and Class Members suffered an injury in the
                            23
                                 amount paid.
                            24
                                       10.   Additionally, Plaintiff and Class Members paid a premium for the
                            25
                                 Products over and above comparable products that did not purport to be “Gluten
                            26
                            27   Free.” Given that Plaintiff and Class Members paid a premium for the Products

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                                                                 CLASS ACTION COMPLAINT
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                                 based on Defendant’s misrepresentations that they are “Gluten Free,” Plaintiff and
                            1
                            2    Class Members suffered an injury in the amount of the premium paid.

                            3          11.    Defendant's conduct violated and continues to violate, inter alia, the
                            4
                                 consumer protection statutes of many states including, but not limited to, California
                            5
                                 and Florida. Defendant breached and continues to breach its express and implied
                            6
                                 warranties regarding the Products. Defendant has been and continue to be unjustly
                            7
                            8    enriched. Accordingly, Plaintiff brings this action against Defendant on behalf of

                            9    himself and Class Members who purchased the Products during the applicable
                            10
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                                 statute of limitations period (the "Class Period").
                            11
                            12
                            13                               JURISDICTION AND VENUE

                            14         12.    This Court has personal jurisdiction over Defendant AMBROSIA

                            15   NUTRACEUTICALS, LLC. Defendant is a California limited liability company with
                            16
                                 its principle place of business located in Costa Mesa, California. Further, Defendant
                            17
                                 purposefully avails itself of the California consumer market and distributes the
                            18
                            19   Products to many locations within this County and hundreds of retail locations

                            20   throughout the State of California, where the Products are purchased by hundreds of

                            21   consumers every day.
                            22
                                       13.    This Court has original subject-matter jurisdiction over this proposed
                            23
                                 class action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class
                            24
                            25   Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of the

                            26   federal courts in any class action in which at least 100 members are in the proposed

                            27   plaintiff class, any member of the plaintiff class is a citizen of a State different from
                            28
                                 any defendant, and the matter in controversy exceeds the sum of $5,000,000.00,
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                                                                   CLASS ACTION COMPLAINT
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                                 exclusive of interest and costs. Plaintiff alleges that the total claims of individual
                            1
                            2    members of the proposed Class (as defined herein) are well in excess of $5,000,000.00

                            3    in the aggregate, exclusive of interest and costs.
                            4
                                       14.      Venue is proper in this District under 28 U.S.C. § 1391. Substantial acts
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                                 in furtherance of the alleged improper conduct, including the dissemination of false
                            6
                                 and misleading information regarding the nature, quality, and/or ingredients of the
                            7
                            8    Products, occurred within this District and the Defendant conducts business in this

                            9    District. Additionally, Defendant’s headquarters is located in this District.
                            10
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                            11
                                                                           PARTIES
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                                       15.      Plaintiff is a citizen of Florida.
                            13
                                       16.      Defendant AMBROSIA NUTRACEUTICALS, LLC is a California
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                            15   limited liability company with its principal place of business in Costa Mesa, CA.

                            16               a. From its headquarters in California, Defendant produces, markets and
                            17
                                                distributes the Products in retail stores across the United States
                            18
                                                including stores physically located in the State of California and this
                            19
                                                District.
                            20
                            21         17.      Plaintiff reserves the right to amend this Complaint to add different or

                            22   additional defendants, including without limitation any officer, director, employee,
                            23
                                 supplier, or distributor of Defendant who has knowingly and willfully aided, abetted,
                            24
                                 or conspired in the false and deceptive conduct alleged herein.
                            25
                                       18.      Whenever reference is made in this Complaint to any representation,
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                            27   act, omission, or transaction of a defendant, that allegation shall mean that the

                            28   defendant did the act, omission, or transaction through its officers, directors,

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                                                                     CLASS ACTION COMPLAINT
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                                 employees, agents, and/or representatives while they were acting within the actual or
                             1
                             2   ostensible scope of their authority.

                             3                                           FACTS
                             4       A. Gluten Free Representations are Valuable
                             5         19.    Consumers have become increasingly concerned about the effects of

                             6   gluten in their diets. Companies such as the Defendant have capitalized on
                             7
                                 consumers' desires for purportedly "gluten free" products.
                             8
                                       20.    Consumer surveys suggest a gluten-free diet is one of the most popular
                             9
                                 U.S. health food trends in recent years.2
                            10
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                            11         21.    Part of this surge in interest and demand comes from the consumer’s

                            12   perception that food products with a gluten-free label are healthier than other
                            13
                                 products.3
                            14
                                       22.    Indeed, consumers are willing to pay, and have paid, a premium for
                            15
                            16   products labeled "gluten free" over products that are not so labeled.

                            17         23.    Studies show consumers pay premium prices over 200% for gluten free

                            18   food products,4 while other studies show a premium in excess of 500%.5
                            19
                            20   2Miller, D. M. 2016. “Maybe It’s Not the Gluten.” JOURNAL OF THE AMERICAN
                                 MEDICAL ASSOCIATION INTERNAL MEDICINE 176(11):1717-1718.
                            21
                            22   3Navarro, C. “The Effect of Gluten-Free Labels on Customer's Perception of
                                 Healthiness, Expected Price, and Willingness to Purchase.” (2016) available at
                            23   https://repository.tcu.edu/bitstream/handle/116099117/11315/Navarro__Cori_Jo-
                                 Honors_Project.pdf?sequence=1&isAllowed=y.
                            24
                                 4Stevens L, Rashid M., Gluten-free and regular foods: a cost comparison. CAN J DIET
                            25   PRACT RES. 2008 Fall;69(3):147-50. doi: 10.3148/69.3.2008.147. PMID: 18783640. (“On
                                 average, gluten-free products were 242% more expensive than regular products.”)
                            26
                            27
                                 5 Singh, J & Whelan, K. (2011). Limited availability and higher cost of gluten-free
                                 foods. Journal of human nutrition and dietetics : JOURNAL OF THE BRITISH DIETETIC
                            28   ASSOCIATION. 24. 479-86. 10.1111/j.1365-277X.2011.01160.x. (“All 10 gluten-free
                                 versions of wheat-based foods were more costly than their standard counterparts (76-
                                 518% more expensive.”)
                                                                          –9–
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                                           24.   This surge in demand from consumers has grown the gluten-free market
                             1
                             2   to a valuation in excess of $6.6 billion.6

                             3             25.   Reasonable consumers, including Plaintiff and Class Members, value
                             4
                                 “gluten free” products for important reasons, including the belief that they are safer
                             5
                                 and healthier than alternative products that are not represented as “gluten free.”
                             6
                                      B. Failure to Adhere to Gluten Free Representations is Dangerous
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                                           26.   According to the FDA, gluten allergies are one of the eight major
                             8

                             9   allergies related to food.7

                            10             27.   For a person with celiac disease, exposure to gluten can be severely
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                            11   debilitating and possibly deadly.
                            12
                                           28.   The FDA states:8
                            13
                                           In people with celiac disease, foods that contain gluten trigger an immune
                            14             response that attacks and damages the lining of the small intestine. Such
                            15             damage may not only limit the ability of celiac disease patients to absorb
                                           nutrients, leading to problems such as iron deficiency anemia,
                            16             osteoporosis, and malnutrition, but it puts them at increased risk for
                                           potentially serious health problems, including intestinal cancers and
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                                           autoimmune diseases such as diabetes.
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                            19             29.   For people that suffer from Celiacs Disease, maintaining a strict gluten

                            20   free diet is important.

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                                 6Talley, N.J., and M.M. Walker. 2016. “Celiac Disease and Nonceliac Gluten or
                            25   Wheat Sensitivity: The Risks and Benefits of Diagnosis.” JOURNAL OF AMERICAN
                                 MEDICAL ASSOCIATION INTERNAL MEDICINE 177(5):615-616.
                            26
                            27   7U.S. Food & Drug Administration, Food Allergies, Jan. 31, 2022,
                                 https://www.fda.gov/food/food-labeling-nutrition/food-allergies.
                            28
                                 8   Id.
                                                                              – 10 –
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                                       30.    “It has been found that a strict [Gluten Free Diet] reduces the risk of
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                             2   developing colon cancer, oropharyngeal cancer and intestine adenocarcinoma in

                             3   patients with [Celiacs Disease].”9
                             4
                                       31.    Because of the extreme danger that gluten can present to consumers,
                             5
                                 the FDA maintains strict requirements for “gluten free” representations.
                             6
                                       32.    Failure to adhere to these strict requirements can create deadly
                             7
                             8   consequences for consumers.

                             9       C. Defendant Represents That the Products Are Gluten Free
                            10         33.    On the front of the Product, Defendant represents to consumers that the
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                            11   Product is “Gluten Free.”
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                                       34.    For example:
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                            27   9Kalra, N., Mukerjee, A., Sinha, S., Muralidhar, V., Serin, Y., Tiwari, A., Verma, A.
                                 K."Current updates on the association between celiac disease and cancer, and the
                            28   effects of the gluten-free diet for modifying the risk (Review)". International Journal
                                 of Functional Nutrition 3.1 (2022): 2.
                                                                             – 11 –
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                             2         35.   Additionally, on the back of the Product, Defendant asserts that it

                             3   contains “NO GLUTEN.”
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                             8         36.   These representations are not limited to the packaging. Rather, the

                             9   “Gluten Free” representations are part of Defendant’s core marketing message.
                            10
                                       37.   For example, on its official Youtube Channel, Defendant’s spokesperson
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                                 Ant Woodz promotes the Products as Gluten Free.10
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                                 10The Ambrosia Collective Official Youtube Channel, Ant Woodz tries Ambrosia's
                            28   Planta in Campfire S'mores (plant-based & Vegan Friendly) (Feb. 2, 2022),
                                 https://www.youtube.com/watch?v=77HlTUhr9eg.
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                                       38.   Further, it uses targeted advertisements that represents that the
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                             2   Products are “Gluten Free.”11

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                            28   11The “Gluten Free” representation is surrounded by the S’Mores and in the center of
                                 the advertisement.
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                                                                 CLASS ACTION COMPLAINT
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                                       39.     Defendant’s website emphasizes the Gluten Free nature of the Products.
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                                       40.     Moreover, these Gluten Free representations are rebroadcasted through
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                                 social media posts – both paid and organic – that are distributed throughout the
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                            17   Internet.12

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                                 12Opperman Fitness Youtube Channel, New! S’mores Ambrosia Planta REVIEW |
                            28   Plant Based Protein | Vegan | How Good Is It? (Feb. 18, 2022),
                                 https://www.youtube.com/watch?v=KUks5F1DlZ8.
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                                         41.   Defendant represents to consumers that the Product is “Gluten Free,”
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                             2   with intent, and this message is reinforced in a coordinated marketing campaign.

                             3        D. The Products Are Not Gluten Free
                             4           42.   Despite these representations, the Products actually contain gluten.
                             5           43.   The ingredients reveal two ingredients that contain gluten.13
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                                         44.   Wheat flour contains gluten.14
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                                         45.   Graham flour contains gluten.15
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                            15           46.   Defendant is aware that the Products contain gluten.

                            16           47.   When Defendant is alerted to these false representations by customers,
                            17   it fails to respond.
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                            26   13   Emphasis added.
                            27
                                 14 https://www.hopkinsmedicine.org/health/wellness-and-prevention/what-is-gluten-
                            28   and-what-does-it-do
                                 15 https://www.beyondceliac.org/gluten-free-diet/is-it-gluten-free/graham-flour

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                                       48.   Defendant fails to inform the public that its “Gluten Free” Products have
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                                 been, and continue to be, contaminated with gluten.
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                            15         49.   Instead, it recently started “covering up” the false representations with

                            16   stickers.
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                                       50.      Rather than properly informing customers of its misrepresentations,
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                                 Defendant would rather “cover it up.”
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                            21
                            22      E. Plaintiff Purchased the Product in Reliance of the Gluten Free
                            23         Representation
                            24         51.      Plaintiff purchased the Product in early 2022 from a Vitamin Shoppe

                            25   store in Delray Beach, Florida.
                            26
                                             a. Prior to purchasing the Product, Plaintiff saw and read the front of the
                            27
                                                product packaging, and relied on the representation and warranty that
                            28
                                                the product would be “gluten free.”
                                                                           – 18 –
                                                                   CLASS ACTION COMPLAINT
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                                             b. Plaintiff understood these representations to mean that the Product did
                             1
                             2                  not contain gluten.

                             3               c. Plaintiff later discovered that Product actually contained gluten after he
                             4
                                                became sick from consumption.
                             5
                                             d. Plaintiff purchased the Product at a substantial price premium, and
                             6
                                                would not have purchased the products had he known that the labeling
                             7
                             8                  and marketing she relied on was false, misleading, and deceptive.

                             9               e. Plaintiff would purchase the Product again in the future if Defendant
                            10
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                                                changed the composition of the Products so that they conformed to the
                            11
                                                “gluten free” labeling and marketing.
                            12
                            13
                            14      F. Defendant’s Wrongful Conduct Caused Plaintiff’s and Class Members’

                            15         Injuries

                            16         52.      Defendant knows that consumers are willing to pay more for gluten free

                            17   foods due to the perception that gluten free foods are higher quality and a healthier

                            18   alternative to the competition.
                            19
                                       53.      As a result of these unfair and deceptive practices, Defendant has likely
                            20
                                 collected millions of dollars from the sale of the Product that it would not have
                            21
                            22   otherwise earned. Plaintiff and Class Members paid money for food products that are

                            23   not what they purported to be or what they bargained for. They paid a premium for

                            24   the Product when they could have instead bought other, less expensive products that
                            25
                                 do not purport to be gluten free.
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                                                                               – 19 –
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                                         54.      In making the false and misleading representations described herein,
                             1
                             2   Defendant knew and intended that consumers would pay for, and/or pay a premium

                             3   for, a Product labeled and advertised as gluten free.
                             4
                                         55.      As an immediate, direct, and proximate result of Defendant’s false and
                             5
                                 misleading representations, Defendant injured the Plaintiff and the Class Members
                             6
                                 in that they:
                             7
                             8                 a. Paid a sum of money for Products that were not what Defendant

                             9                    represented;
                            10
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                                               b. Paid a premium price for Products that were not what Defendant
                            11
                                                  represented;
                            12
                            13                 c. Were deprived of the benefit of the bargain because the Products they

                            14                    purchased were different from what Defendant warranted;

                            15                 d. Were deprived of the benefit of the bargain because the Products they
                            16
                                                  purchased had less value than what Defendant represented;
                            17
                                               e. Could not be used for the purpose for which they were purchased; and
                            18
                            19                 f. Were of a different quality than what Defendant promised.

                            20           56.      Had Defendant not made the false, misleading, and deceptive

                            21   representations, Plaintiff and the Class Members would not have been willing to pay
                            22
                                 the same amount for the Products they purchased, and, consequently, Plaintiff and
                            23
                                 the Class Members would not have been willing to purchase the Products.
                            24
                            25           57.      Plaintiff and the Class Members paid for Products that were purported

                            26   to be gluten free but received Products that contained gluten. The products Plaintiff

                            27   and the Class Members received were worth less than the products for which they
                            28
                                 paid.
                                                                              – 20 –
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                                       58.    Based on Defendant's misleading and deceptive representations,
                             1
                             2   Defendant was able to, and did, charge a premium price for the Products over the cost

                             3   of competitive products not bearing the representations.
                             4
                                       59.    Plaintiff and the Class Members all paid money for the Products.
                             5
                                 However, Plaintiff and the Class Members did not obtain the full value of the
                             6
                                 advertised Products due to Defendant's misrepresentations. Plaintiff and the Class
                             7
                             8   Members purchased, purchased more of, and/or paid more for, the Products than they

                             9   would have had they known the truth about the Products. Consequently, Plaintiff
                            10
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                                 and the Class Members have suffered injury in fact and lost money as a result of
                            11
                                 Defendant’s wrongful conduct.
                            12
                            13         60.    Defendant’s deceptive representations and omissions are material in

                            14   that a reasonable person would attach importance to such information and would be

                            15   induced to act upon such information in making purchase decisions.
                            16
                                       61.    Plaintiff and the Class Members reasonably relied to their detriment on
                            17
                                 Defendant’s misleading representations and omissions.
                            18
                            19         62.    Defendant's false, misleading, and deceptive misrepresentations and

                            20   omissions are likely to continue to deceive and mislead reasonable consumers and the

                            21   general public, as they have already deceived and misled the Plaintiff and the Class
                            22
                                 Members.
                            23
                                                     CLASS DEFINITIONS AND ALLEGATIONS
                            24
                            25         63.    Plaintiff, pursuant to Federal Rule of Civil Procedure 23, brings this

                            26   action on behalf of the following classes (collectively, the “Class,” “Classes,” and

                            27   “Class Members”):
                            28

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                                                  a. Multi-State Consumer Class: All persons in the States of
                             1
                             2                       California, Florida, Illinois, Maryland, Massachusetts, Minnesota,

                             3                       Missouri, New Jersey, New York, Pennsylvania, Oregon, and
                             4
                                                     Washington who purchased the Products.16
                             5
                                                  b. Florida Class: All persons who purchased Defendant’s Product
                             6
                                                     within the State of Florida and within the applicable statute of
                             7
                             8                       limitations.

                             9                    c. Nationwide Class: All persons who purchased Defendant’s
                            10
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                                                     Product within the United States and within the applicable
                            11
                                                     statute of limitations period.
                            12
                            13         64.    Excluded from the Classes are Defendant, its parents, subsidiaries,

                            14   affiliates, officers, and directors, those who purchased the Products for resale, all

                            15   persons who make a timely election to be excluded from the Classes, the judge to
                            16
                                 whom the case is assigned and any immediate family members thereof, and those
                            17
                                 who assert claims for personal injury.
                            18
                            19         65.    The members of the Classes are so numerous that joinder of all Class

                            20   Members is impracticable. Defendant has sold, at a minimum, tens of thousands of

                            21   units of the Products to Class Members.
                            22
                            23
                            24   16The States in the Multi-State Consumer Class are limited to those States with
                                 similar consumer protection laws under the facts of this case: California (Cal. Bus. &
                            25   Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 ILCS
                                 505/1, et seq.); Maryland (Md. Com. Law §§ 13-301); Massachusetts (Mass. Gen. Laws
                            26   Ch. 93A, et seq.); Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn.
                                 Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat. 407.010, et seq.); New Jersey (N.J.
                            27   Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law § 349, et seq.); Pennsylvania
                                 (73 Pa. Stat. Ann. §§ 201-1 et seq.); Oregon (Or. Rev. Stat. §§ 646.605, et seq.); and
                            28   Washington (Wash Rev. Code § 19.86.010, et seq.).

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                                       66.      There is a well-defined community of interest in the questions of law and
                             1
                             2   fact involved in this case. Questions of law and fact common to the members of the

                             3   putative classes that predominate over questions that may affect individual Class
                             4
                                 Members include, but are not limited to the following:
                             5
                                             a. whether Defendant misrepresented material facts concerning the
                             6
                                                Products on the label of the Product;
                             7
                             8               b. whether Defendant’s conduct was unfair and/or deceptive;

                             9               c. whether Defendant has been unjustly enriched as a result of the
                            10
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                                                unlawful, fraudulent, and unfair conduct alleged in this Complaint such
                            11
                                                that it would be inequitable for Defendant to retain the benefits
                            12
                            13                  conferred upon it by Plaintiff and the Classes;

                            14               d. whether Plaintiff and the Classes are entitled to equitable and/or

                            15                  injunctive relief;
                            16
                                             e. whether Defendant breached express and implied warranties to Plaintiff
                            17
                                                and the Classes;
                            18
                            19               f. whether Plaintiff and the Classes have sustained damages with respect

                            20                  to the common-law claims asserted, and if so, the proper measure of

                            21                  their damages.
                            22
                                       67.      Plaintiff’s claims are typical of those of other Class Members because
                            23
                                 Plaintiff, like all members of the classes, purchased Defendant’s Products bearing the
                            24
                            25   “gluten free” representations and Plaintiff sustained damages from Defendant’s

                            26   wrongful conduct.

                            27
                            28

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                                          68.   Plaintiff will fairly and adequately protect the interests of the Classes
                             1
                             2   and has retained counsel that is experienced in litigating complex class actions.

                             3   Plaintiff has no interests which conflict with those of the Classes.
                             4
                                          69.   A class action is superior to any other available means for the fair and
                             5
                                 efficient adjudication of this controversy, and no unusual difficulties are likely to be
                             6
                                 encountered in the management of this class action. The damages or other financial
                             7
                             8   detriment suffered by Plaintiff and the other Class Members are relatively small

                             9   compared to the burden and expense that would be required to individually litigate
                            10
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                                 their claims against Defendant, making it impracticable for Class Members to
                            11
                                 individually seek redress for Defendant’s wrongful conduct. Even if Class Members
                            12
                            13   could afford individual litigation, the court system could not. Individualized litigation

                            14   creates a potential for inconsistent or contradictory judgments, and increases the

                            15   delay and expense to all parties and the court system. By contrast, the class action
                            16
                                 device presents far fewer management difficulties, and provides the benefits of single
                            17
                                 adjudication, economies of scale, and comprehensive supervision by a single court.
                            18
                            19            70.   The prerequisites to maintaining a class action for equitable relief are

                            20   met as Defendant has acted or refused to act on grounds generally applicable to the

                            21   classes, thereby making appropriate equitable relief with respect to the classes as a
                            22
                                 whole.
                            23
                                          71.   The prosecution of separate actions by members of the Classes would
                            24
                            25   create a risk of establishing inconsistent rulings and/or incompatible standards of

                            26   conduct for Defendant. For example, one court might enjoin Defendant from

                            27   performing the challenged acts, whereas another might not. Additionally, individual
                            28

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                                 actions could be dispositive of the interests of the classes even where certain Class
                             1
                             2   Members are not parties to such actions.

                             3

                             4
                                                                       COUNT I
                             5                     Violation of State Consumer Protection Statutes
                                                    (On Behalf of the Multi-State Consumer Class)
                             6
                                       72.       Plaintiff repeats and realleges each and every allegation above as if set
                             7
                             8   forth herein.

                             9         73.       The Consumer Protection Acts of the States in the Multi-State
                            10
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                                 Consumer Class prohibit the use of unfair or deceptive business practices in the
                            11
                                 conduct of trade or commerce.
                            12
                            13         74.       Defendant intended that Plaintiff and the other members of the Multi-

                            14   State Consumer Class would rely upon their deceptive conduct, and a reasonable

                            15   person would in fact be misled by its deceptive conduct.
                            16
                                       75.       As a result of the Defendant’s use or employment of unfair or deceptive
                            17
                                 acts or business practices, Plaintiff, and other members of Multi-State Consumer
                            18
                            19   Class, have sustained damages in an amount to be proven at trial.

                            20
                            21                                        COUNT II
                            22               Violation of California’s Unfair Competition Law (“UCL”),
                                                     CAL. BUS. & PROF. CODE §§ 1720, et seq.
                            23                          (On Behalf of the Nationwide Class)

                            24         76.       Plaintiff repeats and realleges each and every allegation contained in
                            25
                                 the foregoing paragraphs as if fully set forth herein.
                            26
                                       77.       Plaintiff brings this Count individually and on behalf of the members of
                            27
                                 the Nationwide Class.
                            28

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                                       78.    Defendant is subject to California’s Unfair Competition Law, Cal. Bus. &
                             1
                             2   Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition

                             3   shall mean and include unlawful, unfair or fraudulent business practices and unfair,
                             4
                                 deceptive, untrue or misleading advertising ….”
                             5
                                       79.    Defendant violated the “unlawful” prong of the UCL by violating the
                             6
                                 False Advertising Law (“FAL”), as alleged herein.
                             7
                             8         80.    Defendant’s misrepresentations and other conduct, described herein,

                             9   violated the “unfair” prong of the UCL in that its conduct is substantially injurious to
                            10
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                                 consumers, offends public policy, and is immoral, unethical, oppressive, and
                            11
                                 unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
                            12
                            13         81.    Defendant violated the “fraudulent” prong of the UCL by

                            14   misrepresenting that the Products are “gluten free” when, in fact, they are made with

                            15   gluten.
                            16
                                       82.    Plaintiff and the Class Members lost money or property as a result of
                            17
                                 Defendant’s UCL violations because: because: (a) they would not have purchased the
                            18
                            19   Products on the same terms if they knew that the Products were made with gluten;

                            20   (b) they paid a substantial price premium compared to other products due to

                            21   Defendant’s misrepresentations; and (c) the Products do not have the characteristics,
                            22
                                 uses, or benefits as promised.
                            23
                                       83.    In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order
                            24
                            25   enjoining Defendant from continuing to conduct business through unlawful, unfair,

                            26   and/or fraudulent acts and practices, and to commence a corrective advertising

                            27   campaign.
                            28

                                                                           – 26 –
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                                       84.      Plaintiff and the Class also seek an order for the restitution of all monies
                             1
                             2   from the sale of the Products, which were unjustly acquired through acts of unlawful

                             3   competition.
                             4
                                       85.      Because Plaintiff and the Class Members’ claims under the “unfair”
                             5
                                 prong of the UCL sweep more broadly than their claims under the FAL or UCL’s
                             6
                                 “fraudulent” prong, Plaintiff’s legal remedies are inadequate to fully compensate
                             7
                             8   Plaintiff for all of Defendant’s challenged behavior.

                             9
                            10
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                                                                     COUNT III
                            11                     Violation of The False Advertising Law (“FAL”),
                                                     CAL. BUS. & PROF. CODE §§ 17500, et seq.
                            12                           (On Behalf of the Nationwide Class)
                            13
                            14         86.      Plaintiff repeats and realleges each and every allegation contained in

                            15   the foregoing paragraphs as if fully set forth herein.

                            16         87.      Plaintiff brings this Count individually and on behalf of the members of
                            17
                                 the Nationwide Class.
                            18
                                       88.      California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et
                            19
                            20   seq., makes it “unlawful for any person to make or disseminate or cause to be made or

                            21   disseminated before the public in this state, ... in any advertising device ... or in any

                            22   other manner or means whatever, including over the Internet, any statement,
                            23
                                 concerning ... personal property or services, professional or otherwise, or performance
                            24
                                 or disposition thereof, which is untrue or misleading and which is known, or which by
                            25
                            26   the exercise of reasonable care should be known, to be untrue or misleading.”

                            27         89.      Defendant committed acts of false advertising, as defined by §§17500, et

                            28   seq., by misrepresenting that the Products are “gluten free” when they are not.

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                                       90.    Defendant knew or should have known through the exercise of
                             1
                             2   reasonable care (i.e. pre-market testing) that its representations about the Products

                             3   were untrue and misleading.
                             4
                                       91.    Defendant’s actions in violation of §§ 17500, et seq. were false and
                             5
                                 misleading such that the general public is and was likely to be deceived.
                             6
                                       92.    Plaintiff and the Class Members lost money or property as a result of
                             7
                             8   Defendant’s FAL violations because: (a) they would not have purchased the Products

                             9   on the same terms if they knew that the Products were made with gluten; (b) they
                            10
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                                 paid a substantial price premium compared to other food products due to Defendant’s
                            11
                                 misrepresentations; and (c) the Products do not have the characteristics, uses, or
                            12
                            13   benefits as promised.

                            14         93.    Defendant profited from the sale of the falsely and deceptively

                            15   advertised Products to unwary consumers.
                            16
                                       94.    As a result, Plaintiff and the Class are entitled to injunctive and
                            17
                                 equitable relief, restitution, and an order for the disgorgement of the funds by which
                            18
                            19   Defendant was unjustly enriched.

                            20         95.    Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of

                            21   himself and the Class, seeks an order enjoining Defendant from continuing to engage
                            22
                                 in deceptive business practices, false advertising, and any other act prohibited by law,
                            23
                                 including those set forth in this Complaint.
                            24
                            25         96.    Because the Court has broad discretion to award restitution under the

                            26   FAL and could, when assessing restitution under the FAL, apply a standard different

                            27   than that applied to assessing damages under the CLRA or commercial code (for
                            28
                                 Plaintiff’s breach of warranty claims), and restitution is not limited to returning to
                                                                           – 28 –
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                                 Plaintiff and Class Members monies in which they have an interest, but more broadly
                             1
                             2   serves to deter the offender and others from future violations, the legal remedies

                             3   available under the commercial code are more limited than the equitable remedies
                             4
                                 available under the FAL, and are therefore inadequate.
                             5
                                                                    COUNT IV
                             6                             Breach of Express Warranty
                                                        (On Behalf of the Nationwide Class)
                             7
                             8         97.    Plaintiff repeats and realleges each and every allegation contained in

                             9   the foregoing paragraphs as if fully set forth herein.
                            10
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                                       98.    Plaintiff brings this claim individually and on behalf of the Nationwide
                            11
                                 Class against the Defendant.
                            12
                            13         99.    Defendant, as the designer, manufacturer, marketer, distributor, and/or

                            14   seller, expressly warranted and represented that the Product is “gluten free.”

                            15         100.   Defendant provided the Plaintiff and Class Members with an express
                            16
                                 warranty in the form of written affirmations of fact promising and representing that
                            17
                                 the Product is “gluten free.”
                            18
                            19         101.   The above affirmations of fact were not couched as “belief” or “opinion,”

                            20   and were not “generalized statements of quality not capable of proof or disproof.”

                            21         102.   Defendant’s express warranties, and its affirmations of fact and
                            22
                                 promises made to Plaintiff and Class Members regarding the Product, became part of
                            23
                                 the basis of the bargain between Defendant and Plaintiff and the Class, thereby
                            24
                            25   creating an express warranty that the Product would conform to those affirmations of

                            26   fact, representations, promises, and descriptions.

                            27         103.   The Product does not conform to the express warranty because it
                            28
                                 contains gluten.
                                                                           – 29 –
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                                          104.   Defendant was aware that the Products failed to conform to the
                             1
                             2   representations made on the packaging and marketing.

                             3            105.   Rather than fixing the problem and alerting the public to the presence of
                             4
                                 a dangerous allergen, Defendant attempted to “cover it up” with a sticker.
                             5
                                          106.   Defendant was provided additional notice of these issues by numerous
                             6
                                 public complaints and inquiries concerning the presence of gluten in its Products.
                             7
                             8

                             9                                        COUNT V
                                                  Breach of the Implied Warranty of Merchantability
                            10                           (On Behalf of the Nationwide Class)
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                            11
                            12            107.   Plaintiff repeats and realleges each and every allegation contained in

                            13   the foregoing paragraphs as if fully set forth herein.
                            14
                                          108.   Plaintiff asserts this claim individually and on behalf of the Nationwide
                            15
                                 Class.
                            16
                            17            109.   Defendant is a “merchant” as defined under the U.C.C. and by the

                            18   respective state statutes under which Plaintiff alternatively asserts this claim.

                            19            110.   The Products are “goods” as defined under the U.C.C. and by the
                            20
                                 respective state statutes under which Plaintiff alternatively brings this claim.
                            21
                                          111.   Defendant impliedly warranted that the Products were of a
                            22
                            23   merchantable quality. The law implies a warranty that the Products were

                            24   merchantable in the relevant transactions. The Products, when sold and at all times

                            25   thereafter, were not in merchantable condition due to the defects and other conditions
                            26
                                 as alleged above and are not fit for the ordinary purpose for which “gluten free” food
                            27
                                 products are used
                            28

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                                       112.    At the point of sale, the Products contained unseen manufacturing or
                             1
                             2   materials defects whose manifestation renders the product ineffective. These defects

                             3   in the Products existed when the Products left Defendant’s possession and rendered
                             4
                                 them unfit for their ordinary and intended purpose. At all relevant times, including
                             5
                                 when the Products entered the stream of commerce and were purchased by Plaintiff
                             6
                                 and Class Members, the Products were defective and not capable of functioning as
                             7
                             8   advertised.

                             9         113.    Defendant breached the implied warranty of merchantability because
                            10
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                                 the Products are not of a merchantable quality, but instead contained the defects.
                            11
                                 Had Plaintiff and Class Members known of the defects, they would not have
                            12
                            13   purchased Defendant’s Products, or would have paid less for them.

                            14         114.    Plaintiff and Class Members’ interactions with Defendant suffice to

                            15   create privity of contract between Plaintiff and Class Members, on the one hand, and
                            16
                                 Defendant, on the other hand; however, privity of contract need not be established
                            17
                                 nor is it required because Plaintiff and Class Members are intended third party
                            18
                            19   beneficiaries of contracts (including implied warranties) between Defendant and the

                            20   retailers who sell the Products. Defendant’s warranties were designed for the benefit

                            21   of consumers who purchased the Products.
                            22
                                       115.    As a direct and proximate result of the breach of said warranties,
                            23
                                 Plaintiff and Class Members were injured and are entitled to damages.
                            24
                            25         116.    Defendant was provided notice of these issues. Defendant had exclusive

                            26   knowledge of the defects before the Products were sold. Defendant also received

                            27   notice of the defects by the large volume of complaints lodged by consumers.
                            28

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                                       117.   Defendant’s breach of the implied warranty of merchantability damaged
                             1
                             2   Plaintiff and Class Members in an amount to be determined at trial.

                             3

                             4
                                                                    COUNT VI
                             5                                 Unjust Enrichment
                                                        (On Behalf of the Nationwide Class)
                             6
                                       118.   Plaintiff repeats and realleges each and every allegation contained in
                             7
                             8   the foregoing paragraphs as if fully set forth herein.

                             9         119.   Plaintiff brings this claim individually and on behalf of the members of
                            10
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                                 the proposed Nationwide Class against the Defendant.
                            11
                                       120.   At all times relevant hereto, Defendant deceptively marketed,
                            12
                            13   advertised, and sold merchandise to Plaintiff and the Class.

                            14         121.   Plaintiff and members of the Class conferred upon Defendant

                            15   nongratuitous payments for the Products that they would not have if not for
                            16
                                 Defendant’s deceptive advertising and marketing. Defendant accepted or retained the
                            17
                                 nongratuitous benefits conferred by Plaintiff and members of the Class, with full
                            18
                            19   knowledge and awareness that, as a result of Defendant’s deception, Plaintiff and

                            20   members of the Class were not receiving a product of the quality, nature, fitness, or

                            21   value that had been represented by Defendant and reasonable consumers would have
                            22
                                 expected.
                            23
                                       122.   Defendant has been unjustly enriched in retaining the revenues derived
                            24
                            25   from Plaintiff’s and Class Members’ purchases of the Products. Retention of those

                            26   monies under these circumstances is unjust and inequitable because of Defendant’s

                            27   misrepresentations about the Products, which caused injuries to Plaintiff and Class
                            28

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                                 Members because they would not have purchased the Products if the true facts had
                             1
                             2   been known.

                             3            123.   Because Defendant’s retention of the non-gratuitous benefits conferred
                             4
                                 on it by Plaintiff and members of the Class is unjust and inequitable, Defendant must
                             5
                                 pay restitution to Plaintiff and members of the Class for their unjust enrichment, as
                             6
                                 ordered by the Court.
                             7
                             8                                     COUNT VII
                                       Violation of the Florida Deceptive and Unfair Trade Practices Act
                             9                                     (“FDUTPA”)
                                                            Fla. Stat. § 501.201 et seq.
                            10
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                                                         (On Behalf of the Florida Class)
                            11
                                          124.   Plaintiff repeats and realleges each and every allegation contained in
                            12
                            13   the foregoing paragraphs as if fully set forth herein.

                            14            125.   Plaintiff asserts this claim individually and on behalf of the Florida

                            15   Class.
                            16
                                          126.   This cause of action is brought pursuant to the Florida Deceptive and
                            17
                                 Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. §§ 501.201, et seq. The stated
                            18
                            19   purpose of FDUTPA is to “protect the consuming public . . . from those who engage in

                            20   unfair methods of competition, or unconscionable, deceptive, or unfair acts or practices

                            21   in the conduct of any trade or commerce.” Fla. Stat. § 501.202(2).
                            22
                                          127.   Plaintiff and Florida Class Members are “consumers,” and the
                            23
                                 transactions at issue in this Complaint constitute “trade or commerce,” as those terms
                            24
                            25   are defined in Fla. Stat. § 501.203(7)- (8).

                            26            128.   FDUTPA      declares   unlawful         “[u]nfair   methods   of   competition,

                            27   unconscionable acts or practices, and unfair or deceptive acts or practices in the
                            28
                                 conduct of any trade or commerce.” Fla. Stat. § 501.204(1).
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                                       129.   Defendant manufactures, distributes, markets, advertises, and sells the
                             1
                             2   Products.

                             3         130.   The Products are “goods” within the meaning of FDUTPA.
                             4
                                       131.   For the reasons discussed herein, Defendant violated and continues to
                             5
                                 violate FDUTPA by engaging in the conduct described herein, which are
                             6
                                 unconscionable, deceptive, unfair acts or practices proscribed by FDUTPA. Defendant’s
                             7
                             8   acts and practices, including their omissions, were likely to, and did, in fact, deceive

                             9   and mislead members of the public, including consumers acting reasonably under the
                            10
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                                 circumstances, to their detriment.
                            11
                                       132.   Defendant engaged in the following unconscionable, unfair, deceptive,
                            12
                            13   and unconscionable practices:

                            14                a. Defendant manufactured, distributed, marketed, advertised and sold

                            15                   the Products, which posed serious safety risks to consumers, and
                            16
                                                 which serious safety risks existed when the Products left Defendant’s
                            17
                                                 control and at the point of sale;
                            18
                            19                b. Defendant knew, or otherwise should have known, that the Products

                            20                   posed serious safety risks to consumers, but failed to disclose or

                            21                   concealed these risks from consumers;
                            22
                                              c. Defendant knew the serious safety risks posed by the Products were
                            23
                                                 unknown to consumers, and would not be easily discovered by Plaintiff
                            24
                            25                   and Class Members, and would defeat their ordinary, foreseeable and

                            26                   reasonable expectations concerning the performance of the Products;

                            27
                            28

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                                              d. Defendant warranted that the Products are “gluten free” and safe to
                             1
                             2                   consume, when, in fact, the Products contain gluten and pose serious

                             3                   safety risks to consumers; and
                             4
                                              e. Defendant represented to consumers, including Plaintiff and Class
                             5
                                                 Members, that the Products are safe and fit for the use for which they
                             6
                                                 were intended, despite the fact that Defendant knew, or otherwise
                             7
                             8                   should have known, that the Products were unsafe and unfit, posing

                             9                   serious safety risks to consumers.
                            10
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                                       133.   Defendant warranted and represented that the Products were “gluten
                            11
                                 free” and were suitable for their intended use. However, the Products, which are
                            12
                            13   marketed as being “gluten free” actually contain gluten.

                            14         134.   Defendant had advanced and exlusive knowledge of material facts

                            15   concerning the gluten content in its Products.
                            16
                                       135.   Defendant knew, or otherwise should have known, that the Products
                            17
                                 posed serious safety risks to consumers, including Plaintiff and Class Members.
                            18
                            19         136.   Despite Defendant’s exclusive knowledge of material facts concerning the

                            20   existence of the serious safety risks posed by Products, Defendant concealed the serious

                            21   safety risks from consumers by failing to disclose the presence of gluten to consumers.
                            22
                                       137.   Plaintiff purchased the Products believing them to be “gluten free” based
                            23
                                 upon Defendant’s representations about the Products. Plaintiff was unaware of the
                            24
                            25   presence of gluten in the Products at the time he purchased the Products.

                            26         138.   Defendant’s practices described herein were likely to deceive, and did

                            27   deceive, consumers acting reasonably under the circumstances. Consumers, including
                            28
                                 Plaintiff and Class Members, would not have purchased the Products, or would have
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                                 paid significantly less for them, had they known that the Products were not as
                             1
                             2   represented.

                             3            139.   Defendant’s violations described herein present a continuing risk to
                             4
                                 Plaintiff and the general public. Defendant’s unlawful acts and practices complained
                             5
                                 of herein affect the public interest.
                             6
                                          140.   As a result of Defendant’s misconduct, Plaintiff and Class Members have
                             7
                             8   been harmed and suffered actual damages in that they purchased the Products which

                             9   are worthless.
                            10
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                                          141.   As a direct and proximate result of Defendant’s unfair or deceptive acts
                            11
                                 or practices, Plaintiff and Florida Class Members have been damaged, and are entitled
                            12
                            13   to recover actual damages to the extent permitted by law in an amount to be proven at

                            14   trial.

                            15            142.   Plaintiff seeks an order enjoining Defendant’s unfair, unlawful, and/or
                            16
                                 deceptive practices, and seeks attorneys’ fees and any other just and proper relief
                            17
                                 available under FDUTPA and applicable law.
                            18
                            19                                     RELIEF DEMANDED

                            20            143.   WHEREFORE, Plaintiff, individually and on behalf of all others

                            21   similarly situated, seeks judgment against Defendant, as follows:
                            22
                                             a. For an order certifying the Class under Rule 23 of the Federal Rules of
                            23
                                                 Civil Procedure and naming Plaintiff as representative of the Class and
                            24
                            25                   Plaintiff’s attorneys as Class Counsel to represent the members of the

                            26                   Class;

                            27               b. For an order declaring the Defendant’s conduct violates the statutes and
                            28
                                                 laws referenced herein;
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                                         c. For an order awarding, as appropriate, compensatory and monetary
                             1
                             2              damages, restitution or disgorgement to Plaintiff and the Class for all

                             3              causes of action;
                             4
                                         d. For an order requiring Defendant to immediately cease and desist from
                             5
                                            selling their misbranded Products in violation of law; enjoining
                             6
                                            Defendant from continuing to label, market, advertise, distribute, and
                             7
                             8              sell the Products in the unlawful manner described herein; and ordering

                             9              Defendant to engage in corrective action;
                            10
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                                         e. For prejudgment and postjudgment interest on all amounts awarded;
                            11
                                         f. For an order awarding punitive damages; and
                            12
                            13           g. For an order awarding attorneys’ fees and expenses and costs of suit.

                            14                                   JURY DEMAND

                            15              Plaintiff demands a trial by jury on all causes of action and issues so

                            16              triable.

                            17
                            18   Dated: June 6, 2022
                                                                       Good Gustafson Aumais LLP
                            19
                            20                                         /s/  J. Ryan Gustafson
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                            25
                            26
                            27
                            28

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